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LAW OFFICES OF DALE K. GALIPO

Dale K. Galipo, SBN 144074

Cooper Alison-Mayne, SBN 343169

21800 Burbank Boulevard, Suite 310

Woodland Hills, California 91367

Telephone: (818) 347-3333

Email: dalekgali ni yanoo.com
cmayne@galipolaw.com

STEVEN A. LERMAN & ASSOCIATES, INC.

Steven A. Lerman, Est, (S.B.N. 55839)
Nicholas M. Lerman, Esq. (SBN: 292656)
6033 West Century Boulevard, Suite 740
Los Angeles, California 90045
Telephone: (310) 659-8166

Email: nlerman@lermanslaw.com

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA — FRESNO DIVISION

MARTHA ZEPEDA OLIVARES,
individually and on behalf of the ESTATE
OF MAXIMILIANO SOSA, JR.;
MAXIMILIANO SOSA, SR.,
Plaintiffs,

V.

CITY OF FRESNO, UNKNOWN LAW
ENFORCEMENT OFFICES, and DOES 1-
30

Defendants.

Case No.: 1:23-CV-01575-JLT-SAB

Assigned to:
District Judge Hon. Jennifer L. Thurston
Magistrate Judge Hon. Stanley A. Boone

NOTICE OF ASSOCIATION OF
COUNSEL

NOTICE OF ASSOCIATION OF COUNSEL

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Case 1:23-cv-01575-JLT-SAB Document 19 Filed 12/14/23 Page 2 of 2

TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

Please take notice that Steven A. Lerman & Associates, Inc., associates in this action
the Law Offices of Dale K. Galipo, in representation of Non-Party Maria Sosa.

Attorneys from the Law Offices of Dale K. Galipo are hereby authorized to file
motions, receive notices, and make necessary court appearances. The Law Offices of Dale K.
Galipo are to be noticed with any and all correspondence relative to the matter at the
following address:

Dale K. Galipo, Esq.
LAW OFFICES OF DALE K. GALIPO
21800 Burbank Blvd., Suite 310
_ Woodland Hills, CA 91367
Email: dalekgalipo@yahoo.com / rvalentine@galipolaw.com
Dated: December 14, 2023 STEVEN A. LERMAN & ASSOCIATES, INC.
By:__s/ Nicholas M. Lerman
Nicholas M. Lerman
Attorney for Plaintiffs
Dated: December 14, 2023 LAW OFFICES OF DALE K. GALIPO
By: __s/ Dale K. Galipo
DALE K. GALIPO
Attorney for Plaintiffs

NOTICE OF ASSOCIATION OF COUNSEL
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